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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

JOANNA CASTRO,                                         §
PLAINTIFF                                              §
                                                       §
         V.                                            §        CIVIL NO. 5:18-CV-00312-DAE
                                                       §
ALBERT SALINAS,                                        §
DEFENDANT                                              §



           JOINT REPORT ON CONFERENCE REQUIRED BY RULE 26(t) AND
                  JOINT DISCOVERY/CASE MANAGEMENT PLAN


                                                    Discovery

1.       The conference required by Rule 26(f) of the Federal Rules of Civil Procedure was held
         on July 27, 2018 by telephone and email correspondence. Present were PATRICK C.
         BERNAL, ADOLFO RUIZ representing Defendant and MILLIE THOMPSON
         representing Plaintiff.

2.       Pursuant to Rule 26(f) (3) and subject to Defendant's Motion to Dismiss [Dkt. 5] the
         Parties provide the following information:

         (A) what changes should be made in the timing, form, or requirement for disclosures
         under Rule 26(a), including a statement of when initial disclosures were made or will be
         made;

         The parties agree that mandatory disclosures should be exchanged no later than
         August 10, 2018. No changes to form are proposed.

         (B) the subjects on which discovery may be needed, when discovery should be
         completed, and whether discovery should be conducted in phases or be limited to or
         focused on particular issues;

         Discovery should be conducted on topics, including but not limited to the facts
         related to Plaintiffs First Amended Complaint, in part, federal claims for alleged
         violations under the First, Fourth, and Fourteenth Amendments of the U.S.
         Constitution, 42 U.S.C §1983, 42 U.S.C. §1988, and any other claims in this matter.
         Discovery will be completed pursuant to the parties' attached Scheduling
         Recommendations, subject to Defendant's Motion to Dismiss [Dkt. 5].



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         (C) any issues about disclosure or discovery of electronically stored information,
         including the form or forms in which it should be produced;

         The parties do not anticipate any disputes regarding electronically stored
         information. The parties agree that if possible, any relevant and responsive
         documents requested during discovery will be produced in their original format.
         However, if any cost, hardship, and incompatibility issues should arise in providing
         the electronically stored information in its original format, the parties shall confer
         and resolve the issue amicably. Pending any resolution to providing the
         electronically stored information in its original format, said information shall be
         produced in paper or PDF format, word searchable if possible, on USB drive or
         disc, and the producing party will allow the requesting party to appear and view the
         requested material in its original format. The Parties agree that Rule 26 (b)(2)(B)
         "Specific Limitations on Electronically Stored Information" controls.

         (D) any issues about claims of privilege or of protection as trial-preparation materials,
         including-if the parties agree on a procedure to assert these claims after production-
         whether to ask the court to include their agreement in an order;

         At this time, it is anticipated that Jack Miller and Plaintiff's husband, Todd
         Ferguson, may assert their Fifth Amendment privilege related to any pending
         criminal matters on a question by question basis.

         (E) what changes should be made in the limitations on discovery imposed under these
         rules or by local rule, and what other limitations should be imposed; and

         None.

         (F) any other orders that the court should issue under Rule 26(c) or under Rule l 6(b) and
         (c).

         None.

3.       Scheduling Order

         The parties file the attached Proposed Scheduling Recommendations with the Court
         subject to Defendant's Motion to Dismiss [Dkt. 5].

4.       List the names, bar number, addresses, and telephone numbers of all counsel.

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         Adolfo Ruiz
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         Signed this           day of ~2018.

                                               Respectfully submitted,



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By:
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                        IN THE UNITED STATES DISTRICT COURT
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JOANNA CASTRO,                                   §
PLAINTIFF                                        §
                                                 §
       V.                                        §              CIVIL NO. 5:18-CV-00312-DAE
                                                 §
ALBERT SALINAS,                                  §
DEFENDANT                                        §



                        PROPOSED AGREED SCHEDULING ORDER


        Pursuant to a Rule 26(f) conference between parties on July 27, 2018, Defendant's

counsel offered dates for a proposed scheduling order in the above-numbered case. The parties

discussed these dates at the Rule 26(f) conference and have agreed to these dates. Pursuant to

this agreement and in accordance with Rule 16 of the Federal Rules of Civil Procedure, the Court

issues the following Scheduling Order:

        1.      A report on alternative dispute resolution in compliance with Local Rule CV-88

shall be filed by September 20, 2018.

        2.      The parties asserting claims for relief shall submit a written offer of settlement to

opposing parties by August 20, 2018, and each opposing party shall respond, in writing, by

September 4, 2018.

        3.      The parties shall file all motions to amend or supplement pleadings or to join

additional parties by December 19, 2018.

        4.      All parties asserting claims for relief shall file their designation of potential

witnesses, testifying experts, testifying expert reports, and proposed exhibits, and shall serve on

all parties, but not file the materials required by Fed. R. Civ. P. 26(a)(2)(B) by November 16,




Proposed Scheduling Order                                                                  Page 1 of 4
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2018.   Parties resisting claims for relief shall file their designation of potential witnesses,

testifying experts, testifying expert reports, and proposed exhibits, and shall serve on all parties,

but not file the materials required by Fed. R. Civ. P. 26(a)(2)(B) by December 21, 2018. All

designations ofrebuttal experts shall be filed within fourteen (14) days of receipt of the report of

the opposing expert.

        5.       An objection to the reliability of an expert's proposed testimony under Federal

Rule of Evidence 702 shall be made by motion, specifically stating the basis for the objection

and identifying the objectionable testimony, within thirty (30) days of receipt of the written

report of the expert's proposed testimony or within thirty (30) days of the expert's deposition, if

a deposition is taken, whichever is later.

        6.       The parties shall complete all discovery on or before February 28, 2019.

Counsel may by agreement continue discovery beyond the deadline, but there will be no

intervention by the Court except in extraordinary circumstances, and no trial setting will be

vacated because of information obtained in post-deadline discovery.

        7.       All dispositive motions shall be filed no later than May 1, 2019. Dispositive

motions as defined in Local Rule CV-7(c) and responses to dispositive motions shall be limited

to twenty (20) pages in length. Replies, if any, shall be limited to ten (10) pages in length in

accordance with Local Rule CV-7(e).

        8.       The hearing on dispositive motions will be set by the Court after all responses and

replies have been filed.

        9.       The Court will set the case for trial by separate order. The order will establish

trial type deadlines to include pretrial matters pursuant to Local Rule CV-16( e)-(g).




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        10.     All of the parties who have appeared in the action conferred concerning the

contents of the proposed scheduling order on July 27, 2018, and the parties have agreed as to its

contents.

        SIGNED AND ENTERED this _ _day of- - - - - - - - - - -, 2018.




                                                UNITED STATES DISTRICT JUDGE




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APPROVED AS TO FORM:

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